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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

WINSTON CHU, M.D. and                                      :    CIVIL ACTION
AESTHETIC & RECONSTRUCTIVE SURGERY, PC                     :
                                                           :    NO. 1:06-cv-00091-MBC
               Plaintiffs,                                 :
                                                           :    (Electronically Filed)
                      v.                                   :
                                                           :
DISABILITY REINSURANCE MANAGEMENT                          :
  SERVICES, INC., a/k/a DISABILITY RMS,                    :
ROBERT KELLER, M.D.,                                       :
THE UNITED STATES LIFE INSURANCE                           :
  COMPANY IN THE CITY OF NEW YORK,                         :
AMERICAN INTERNATIONAL GROUP, INC., a/k/a                  :
  AIG                                                      :
AMA INSURANCE AGENCY, INC., a subsidiary of                :
  the American Medical Association, and                    :
AMERICAN MEDICAL ASSOCIATION,                              :
                                                           :
               Defendants.                                 :

     MOTION FOR CLARIFICATION OF AUGUST 29, 2006 OPINION AND ORDER

       Defendants, Disability Reinsurance Management Services, Inc. (“DRMS”) and

Dr. Robert Keller (“Keller”), by and through their attorneys, White and Williams LLP, bring this

Motion pursuant to Fed. R. Civ. Proc. 60 to clarify whether the Court intended to dismiss certain

counts of the Complaint in its August 29, 2006 Opinion and Order (the “Order”). This motion

does not seek reconsideration of the Court’s interpretation of the facts or the law. Rather, DRMS

and Keller believe that additional counts of the Complaint should be dismissed and/or were

intended to be dismissed based upon the Court’s reasoning.




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                                            COUNT XLV (45)
                                        (“Libel” – A&RS v. DRMS)

         According to the Order, Count XLV (45) (“Libel” – A&RS v. DRMS) was not

dismissed.1 DRMS and Keller request clarification of whether this count should be dismissed in

light of the Court’s conclusion on Page 5 of the Order that “A&RS has failed to state a

defamation, libel or slander claim against these Defendants upon which relief can be granted.”

         With the exception of Count XLV(45), all of the libel, slander and defamation counts by

A&RS were dismissed. For example, the Court dismissed the “Libel” claim asserted by A&RS

against Keller (Count XLVI (46)). Additionally, the Court dismissed both of the “Slander”

claims asserted by A&RS (Counts XXXIX (39) and XL (40)) and both of the “Defamation”

claims asserted by A&RS (Counts LI (51) and LII (52)).

         Given the Court’s reasoning and its dismissal of the other libel, slander and defamation

causes of action asserted by A&RS, it appears that Count XLV(45) should have been dismissed

and/or was intended to be dismissed. DRMS and Keller therefore respectfully request

clarification on this point.

                                       COUNT LVIII (58)
                    “Bad Faith – Breach Of Contract – Declination Of Benefits”
                                        (A&RS v. Keller)

          According to the Order, Count LVIII (58) (“Bad Faith – Breach of Contract –

Declination of Benefits” - A&RS v. Keller) was not dismissed.2 DRMS and Keller request

clarification of whether this count should be dismissed in light of the Court’s conclusion on Page

18 of the Order that “It is not premature, however, to dismiss the §8371 claim against Dr. Keller,


1
         DRMS and Keller sought dismissal of Count XLV (45) in their Brief in Support of Motion to Dismiss, pp.
18-20.
2
         DRMS and Keller sought dismissal of Count LVIII (58) in their Brief in Support of Motion to Dismiss, pp.
20-21.

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whom Plaintiffs do not allege was a decision-maker with respect to Dr. Chu’s insurance claims.”

Although Dr. Chu’s §8371 claim against Dr. Keller was dismissed (Count XXIV (24)), the

§8371 claim by Chu’s business against Dr. Keller (Count LVIII (58)) was not dismissed. Given

the Court’s reasoning and its dismissal of the other §8371 claim against Dr. Keller, it appears

that Count LVIII (58) should have been dismissed and/or was intended to be dismissed. DRMS

and Keller therefore respectfully request clarification on this point.

                                 COUNTS LXIII (63) AND LXIV (64)
                                      “Punitive Damages”
                                       (A&RS v. DRMS)
                                        (A&RS v. Keller)

          According to the Order, Counts LXIII (63) (“Punitive Damages” – A&RS v. DRMS)

and LXIV (64) (“Punitive Damages” – A&RS v. Keller) were not dismissed.3 DRMS and Keller

request clarification of whether these counts should be dismissed in light of the Court’s

conclusion on Page 19 of the Order that “While Plaintiffs acknowledge, as they must, that their

punitive damages claims cannot constitute separate and distinct causes of action, the reality is

that their punitive damages requests are pled as separate and distinct causes of action against

these defendants.” Although Dr. Chu’s “Punitive Damages” causes of action were dismissed

(Counts XXIX (29) and XXX (30)), the “Punitive Damages” claims by Chu’s business against

DRMS and Dr. Keller (Counts LXIII (63) and LXIV (64)) were not dismissed. Given the

Court’s reasoning and its dismissal of the other “Punitive Damages” claims, it appears that

Counts LXIII (63) and LXIV (64) should have been dismissed and/or were intended to be

dismissed. DRMS and Keller therefore respectfully request clarification on this point.




3
        DRMS and Keller sought dismissal of Counts LXIII (63) and LXIV (64) in their Brief in Support of
Motion to Dismiss, p. 21.

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                                        CONCLUSION

       For the reasons set forth above, DRMS and Dr. Keller respectfully request that this Court

clarify its August 29, 2006 Opinion and Order and dismiss Counts XLV (45), LVIII (58), LXIII

(63) and LXIV (64).

                                                    Respectfully submitted,

                                                    WHITE AND WILLIAMS LLP
                                                    Attorneys for Defendants
                                                    Disability Reinsurance Management
                                                    Services, Inc. and
                                                    Dr. Robert Keller


                                                    By: /s/ Ira S. Bergman
                                                       ANDREW F. SUSKO, ESQUIRE
                                                       IRA S. BERGMAN, ESQUIRE
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DATED: September 11, 2006




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AMERICAN INTERNATIONAL GROUP, INC., a/k/a                 :
  AIG                                                     :
AMA INSURANCE AGENCY, INC., a subsidiary of               :
  the American Medical Association, and                   :
AMERICAN MEDICAL ASSOCIATION,                             :
                                                          :
               Defendants.                                :

                           ORDER ON MOTION FOR CLARIFICATION

        Pending before the Court is the Motion For Clarification by Defendants Disability

Reinsurance Management Services, Inc. and Dr. Robert Keller. Having reviewed the

submissions of the parties and for good cause shown:

       IT IS on this _________ day of _______________________, 2006 hereby

       ORDERED that the Motion for Clarification is granted and Counts XLV (45), LVIII

(58), LXIII (63) and LXIV (64) of the Complaint are dismissed.



                                            _________________________________________
                                            Maurice B. Cohill, Jr.
                                            Senior District Court Judge




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                                CERTIFICATE OF SERVICE

       I, Ira S. Bergman, hereby certify that I have caused a true and correct copy of the

foregoing Motion For Clarification of August 29, 2006 Opinion and Order to be served via

electronic means through the Court’s transmission facilities pursuant to Local Rule 5.5 on

September 11, 2006, upon the following:

Andrew J. Sisinni, Esq.                         Salvatore A. Clemente, Esq.
Vendetti & Vendetti                             Wilson, Elser, Moskowitz, Edelman & Dicker LLP
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                                                            /s/ Ira S. Bergman
                                                            Ira S. Bergman




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